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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Western Division

Natural Land Institute
                                                  Plaintiff,
v.                                                             Case No.: 3:21−cv−50410
                                                               Honorable Iain D. Johnston
The Greater Rockford Airport Authority, et al.
                                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 27, 2021:


        MINUTE entry before the Honorable Iain D. Johnston: Before the Court is the
plaintiff's complaint for declaratory and injunctive relief [1], motion for temporary
restraining order and/or preliminary injunction [3], and a memorandum in support of a
temporary restraining order and/or preliminary injunction [5]. The motion and
memorandum ask for emergency injunctive relief be granted ex parte. Dkt. 5 at 2. This
type of relief is extraordinary. However, as far as the Court is aware, no form of notice of
any kind has been provided to any of the eleven defendants. The Federal Rules of Civil
Procedure provides that a TRO may only issue without notice if two requirements are met:
(1) specific facts in an affidavit or verified complaint clearly shows that immediate and
irreparable injury, loss, or damage will result to the movant before the adverse party can
be heard in opposition; and (2) the movant's attorney certifies in writing any efforts made
to give notice and the reasons why it should not be required. Fed. R. Civ. P. 65(b)(1).
Plaintiff has done neither and has fails to comply with the Rule. And a preliminary
injunction requires notice to the adverse party. Fed. R. Civ. P. 65(a)(1). If the plaintiff
intends to move forward on its request for emergency injunctive relief, it must provide
copies of the complaint [1], the motion [3], and the memorandum [5] to the following:
Greater Rockford Airport Authority Executive Director Michael P. Dunn, as well as the
U.S. Attorney's Office in Rockford. These documents must be provided both physically
(hand delivered) as well as electronically (e−mail). A copy of this order must also be
provided. These documents must be provided no later than 12:00 PM Central Time on
October 28, 2021. Also, verbal notification of the motion must be attempted by that time
as well. Certification that these actions occurred or the efforts made to complete these
steps must be filed with the Clerk's Office by 1:00 PM Central Time on October 28, 2021.
This notice is addition to the service of the summons and complaint on the defendants as
required under Fed. R. Civ. P. 4. The Court anticipates the need for an evidentiary
hearing, which would require the participation of a member of the trial bar for each party;
the Court notes that none of the attorneys listed as plaintiff's counsel are members of the
Court's trial bar. If, after review of the certification, the Court is assured that the rules
regarding notice have been met, the Court will hold an evidentiary hearing on Friday,
October 29, 2021, beginning promptly at 9:00 AM Central Time, and concluding no later
than 1:00 PM. The Court notes the last minute nature of the complaint and motion seeking
to stop major construction set to begin on November 1, 2021. Yard signs have been
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planted in lawns across Winnebago County and placards placed in windows for over a
week now. Plaintiff should be prepared to address the timeliness of this motion at the
hearing. Without doubt, this is an important case, one that requires all concerned to
painstakingly follow the Federal Rules of Civil Procedure and the mandates on parties
seeking the extraordinary relief of a temporary restraining order or a preliminary
injunction. Finally, the Court notes that the sole attorney who has appeared, Joseph
Russell, is at a firm in Milwaukee, but according to the docket he is at a firm in Chicago,
which is where e−notifications have been sent. The clerk is directed to e−mail a copy of
this order to Joseph Russell at jrussell@vonbriesen.com and Mr. Russell is directed to
update his contact information. Mailed notice (jp, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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